Case 3:19-cv-01930-PAD            Document 101         Filed 02/06/20   Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

          Plaintiff,

                  v.                                         CIVIL NO. 19-1930 (PAD)

 FUNDS IN THE AMOUNT OF
 $53,082,824.19 IN U.S. CURRENCY,

          Defendant.


                                             JUDGMENT

         In accordance with the Order issued today (Docket No. 100), judgment is hereby entered

dismissing the case with prejudice without imposition of costs, expenses or attorney's fees on any

party.

         This case is now closed for statistical purposes.

         SO ORDERED.

         In San Juan, Puerto Rico, this 6th day of February, 2020.

                                                         s/Pedro A. Delgado-Hernández
                                                         PEDRO A. DELGADO-HERNÁNDEZ
                                                         United States District Judge
